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GAS 24SB          (Rev. 11/16)Judgment in a Criminal Case
DC Custody TSR



                                         United States District Court
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                              SAVANNAH DIVISION

              UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                  V.
                    Adrian Tarazze Bvrd. aka
                             "Newie"                                                 Case Number:             4:16CR00224-3

                                                                                     USM Number:              21604-021

                                                                                     Jarrett Griffin Maillet
                                                                                     Defendant's Attorney
THE DEFENDANT:

[SI pleaded guilty to Count               1

□ pleaded nolo contendere to Count(s)                         which was accepted by the court.
□ was found guilty on Count(s)                         after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                   Nature of Olfense                                                                 Offense Ended         Count

21 U.S.C.§846;2I                  Conspiracy to possess with intent to distribute, and to distribute,                June 7,2016             1
U.S.C.§ 841(a)(1) and             controlled substances
(b)(1)(C); 18 U.S.C.§ 2

      The defendant is sentenced as provided in pages 2 through                      of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
lEI Counts        20,21,22,23,24, and 25          are dismissed as to the defendant on the motion of the United States.

         It is ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attomey of material changes in economic circumstances.

                                                                             June 1.2017
                                                                             Dale of Imposition of Judgment




                  C\l                                                        Signature of Judge
                  • •

                  CJ


                                                                             William T. Moore, Jr.
                  CN'                                                        Judge, U.S. District Court
                   I

                                                                             Name and Title of Judge

        c J
                  c
                  c                                                                                    7^^ a.d/7
                                                                             Date
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